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                        Exhibit 6
        Declaration of Complex Facilities Manager
                       D. McMullen


                    Mostafa v. Garland, et al.,
              No. 20-cv-00694-PAB-SKC (D. Colo.)
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 20-cv-00694-PAB-SKC

  MOSTAFA KAMEL MOSTAFA,

         Plaintiff,

  v.

  MERRICK GARLAND, United States Attorney General, in his official capacity,
  CHRISTOPHER WRAY, FBI Director, in his official capacity,
  MICHAEL CARVAJAL, BOP Director, in his official capacity,
  B. TRUE, ADX Warden, in his official capacity,
  TUTOILUMUNDO, ADX Unit Manager, in his official capacity,
  MACMILLAN, ADX Facilities Department, in his official capacity,
  FOLLOWS, ADX Medical Department Manager, in her individual capacity,
  LOEWE, ADX officer, in his individual capacity,
  NORJANO, ADX Officer, in his individual capacity,
  CHOROSEVIC, ADX Occupational Therapist, in his individual capacity,
  PARRY, ADX Officer, in his individual capacity,
  AVERIT, ADX Officer, in his individual capacity,
  GARDUNO, ADX Lieutenant, in his individual capacity,
  WILLIAM, ADX Nurse, in his individual capacity,
  HUDELSTON, ADX Nurse, in his individual capacity,
  STERETT, ADX Doctor, in his individual capacity,
  ARMIJO, ADX Lieutenant, in his individual capacity, and
  EDWARDS, ADX Officer, in his individual capacity,

         Defendants.

                              DECLARATION OF D. McMULLEN

         I, D. McMullen, pursuant to 28 U.S.C. § 1746, and based upon my personal knowledge

  and information made known to me from official records reasonably relied upon by me in the

  course of my employment, hereby declare as follows relating to this case:

         1.      I am the Complex Facilities Manager at the Federal Bureau of Prisons (“Bureau”)

  facility known as the Federal Correctional Complex in Florence, Colorado, which includes the


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  United States Penitentiary – Administrative Maximum (“ADX”). I have held this position since

  January 2016. Prior to my assuming this role, I worked in the ADX Facilities Department as a

  General Foreman from January 2014 to October 2015. From October 2015 to January 2016, I

  was the General Foreman in the high-security United States Penitentiary located on the Complex.

  I have been employed by the Bureau, in positions of increasing responsibility, since June 2001.

         2.      As Complex Facilities Manager, I am responsible for many duties, including, but

  not limited to, initiating and evaluating proposals for improvements, major repairs, and

  replacement of facilities across the Complex. I am familiar with the physical configuration of all

  buildings on the Complex and the unique safety and security requirements for construction of

  correctional facilities in general and the ADX in particular. I have access to records maintained

  in the ordinary course of business by the Bureau, including technical drawings and blueprints of

  the facilities across the Complex, including the ADX. The attachment to this declaration is a true

  and accurate copy of a document maintained in the ordinary course of business.

         3.      I am familiar with Mostafa Kamel Mostafa, register number 67495-054, who is

  incarcerated at the ADX. I previously provided a declaration in this matter. See ECF No. 96-7.

         4.      I am aware that Mostafa has filed a new complaint in which he alleges that he

  cannot wash himself after he uses the toilet. See ECF No. 199 ¶ 65.

         5.      In my previous declaration, I described the configuration of the shower in cell

  511, where Mostafa continues to be housed. That cell, which complies with the standards set

  forth in the Architectural Barriers Act, 42 U.S.C. § 4151 et seq., has a larger shower than other

  ADX cells. The shower has a bench and a safety grab bars. The shower also has two shower

  heads, each controlled by a separate button, one mounted higher in the shower and the other

  mounted at a lower level to enable Mostafa to clean the lower half of his body.
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           6.      The water in Mostafa’s shower is programmed to run 3.0 minutes, twice as long

  as in other ADX cells. This reduces the number of times that Mostafa must depress the button 1

  for water flow. Mostafa also has his own sink, which is programed to run 1.5 minutes,

  significantly longer than the 12-26 seconds for other ADX cells. There is no limit to the number

  of times Mostafa can press the button on his sink and shower.



           Pursuant to the provisions of 28 U.S.C. § 1746, I declare under penalty of perjury that the

  foregoing is true and correct to the best of my information, knowledge, and belief.

           Executed on this 15th day of August 2022, in Florence, Colorado.


                                                        /s/ D McMullen
                                                        D. McMullen
                                                        ADX Florence
                                                        Federal Bureau of Prisons




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      Faucet handles, which can readily be broken to make weapons, cannot be installed at ADX.
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